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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF KENTUCKY
                              LONDON DIVISION

                                  Electronically Filed

PHILLIP A. GILKISON, individually &
as representative of the class,

        Plaintiff(s),
                                                       Case Number ________________
v.                                                     Class Action

SIGNATURE PAYROLL SERVICES, LLC,

      Defendant.
_________________________________________/

                              Complaint & Jury Demand

        1.   The named Plaintiff, Phillip A. Gilkison individually and as

representative of the class, sues Defendant, Signature Payroll Services, LLC,

pursuant to the Fair Credit Reporting Act (FCRA).

        2.   The Honorable Court has original jurisdiction pursuant to 28 U.S.C. §

1331 and 15 U.S.C. § 1681p.

        3.   Venue is appropriate in the London Division of the United States

District Court for the Eastern District of Kentucky.

        4.   Plaintiff resides in London, Kentucky.

        5.   Defendant conducts business, in among, other Kentucky counties in

Jackson County, Kentucky.




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       6.   Named Plaintiff sued Signature Healthcare, LLC and LP Annville, LLC

for age discrimination in violation of Kentucky Revised Statutes (KRS) in the

Circuit Court in Jackson County, Kentucky.

       7.   On November 29, 2017, Defendant declared in a state court filing that it

was Plaintiff’s employer.

       8.   Via the affidavit of Diana Curran, who is director of human resources for

Defendant, it admitted facts.

       9.   First, Defendant admitted that it was the employer of named Plaintiff.

       10. Second, Defendant admitted that it is the employer of all individuals

that work at “Signature” brand entities.

       11. Defendant employs employees at “Signature” brand entities in

Kentucky, Tennessee, Ohio, Pennsylvania, Maryland, Virginia, North Carolina,

Georgia, Florida, Indiana and Massachusetts.

       12. Defendant is headquartered in Kentucky.

       13. Third, Defendant admitted that all new employees receive Defendant’s

employment application.

       14. Fourth, Defendant admitted that the human resource function of

Defendant was centralized and that there were no human resource directors staffed

at specific job sites.

       15. Fifth, Defendant admitted that the attached employment application

provided to Plaintiff was also given to all of Defendant’s employees pursuant to its

standard procedure.



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      16. Now, the employment application violates 15 U.S.C. § 1681b(b)(2)(A).

      17. On the last page of the employment application, Defendant combines an

applicant’s job reference, a statement that it is an equal employment opportunity

employer, a waiver of rights, a background check requirement, consent to take

physical examinations, alcohol testing, all future tests, an arbitration agreement,

an acknowledgement of at-will employment and a certification of truthfulness.

      18. There is both an explicit and implicit declaration on this last page that

Defendant would conduct a criminal background check on all who complete

Defendant’s background check.

      19. The first sentence of the second paragraph of Defendant’s employment

application states: “I voluntarily give this company the right to make a thorough

investigation of my past employment and activities, agree to cooperate in such

investigation and release from all liability or responsibility and persons, companies

or corporations supplying such information.”

      20. Defendant conducted a background check on named Plaintiff.

      21. Defendant has conducted background checks on all of its employees.

      22. Defendant has conducted background checks on all prospective

employees.

      23. Defendant did not provide named Plaintiff a written document that

consists solely of a clear and conspicuous disclosure that it would obtain a consumer

report for employment purposes.




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      24. In fact, Defendant neither provided employees nor prospective

employees of a clear and conspicuous disclosure that it would obtain a consumer

report for employment purposes.

      25. Defendant willfully violated the FCRA as it relates to the named

Plaintiff, all of its current employees, all of its form employees and all of its

prospective employees.

      26. Defendant acted in reckless disregard of the FCRA.

      27. Solely means to the exclusion of all else.

      28. Defendant requires as a condition or precondition of employment that all

employees or persons seeking employment waive future rights that they may have

under state and/or federal law.

      29. In 1998 the Federal Trade Commission (FTC) opined that inclusion of

waiver language in a disclosure form violates 15 U.S.C. § 1681b(b)(2) because the

form would not consist solely of the disclosure.

      30. Defendant did not provide Plaintiff(s) a disclosure form that could be

fully appreciated and contemplated before Defendant procured a consumer report.

      31. The FCRA was enacted to protect the rights of consumers and establish

minimum requirements for individuals or companies seeking consumer reports.

      32. Congress found that obtaining a consumer report was a substantial act

that required written notice that would stand alone so the consumer would

appreciate its gravity.




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      33. The fact that Defendant’s disclosure was included in an employment

application with a waiver and other items it created confusion and watered down

the gravity of the disclosure.

      34. Named Plaintiff learned about Defendant’s procurement of a background

check using an illegal disclosure after Defendant’s November 29, 2017 filing in an

unrelated dispute.

      35. Plaintiff(s) rights to privacy have been violated.

      36. Plaintiff(s) did not appreciate the gravity of the procurement of a

consumer report because Defendant threw in the disclosure in the middle of an

employment application that included many different items.

      37. The FCRA unambiguously barred Defendant from procuring a consumer

report from an employee or prospective employee by including a waiver in the

disclosure.

      38. Defendant systemically violated the FCRA.

      39. Defendant willfully violated the FCRA when it procured background

checks on Plaintiff(s) without first making a permissible written disclosure.

      40. The parties do not have a lawful arbitration agreement between them

that covers this case.

      41. Defendant’s arbitration agreement is a yellow dog contract.

      42. Defendant seeks to prohibit concerted action in its arbitration.

      43. Defendant seeks to prohibit joint, collective, class and representative

actions.



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         44. Defendant’s arbitration agreement violates the National Labor Relations

Act (NLRA).

         45. Defendant seeks in its arbitration agreement to limit its employees to

waive the substantive right to concerted activity.

         46. Defendant’s arbitration agreement is not at issue because it runs afoul

of state and federal law. Specifically, it does not comply with the Sixth Circuit Court

of Appeals. See NLRB v. Alternative Entmt., Inc., 858 F.3d 393 (6th Cir. May 26,

2017).

         47. Defendant violated the FCRA, as it relates to the named Plaintiff, within

the past five years.

         48. Named Plaintiff learned about Defendant’s FCRA violation less than a

week ago.

         49. Named Plaintiff seeks statutory damages for himself individually and

for the putative class.

         50. Defendant is liable to named Plaintiff and the putative class for

statutory damages pursuant to 15 U.S.C. § 1681n(a)(1)(B).

         51. Defendant is liable for punitive damages pursuant to 15 U.S.C. §

1681n(a)(2).

         52. Defendant willfully failed to comply with 15 U.S.C. § 1681b(b)(2)(A) as it

relates to the named Plaintiff and the putative class.




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      53. Named Plaintiff sues Defendant pursuant to Federal Rule of Civil

Procedure 23 and 15 U.S.C. § 1681p for a willful violation of 15 U.S.C. § 1681n

specifically violating 15 U.S.C. § 1681b(b)(2)(A).

      54. The class is defined as all current employees, former employees or

prospective employees that completed Defendant’s background check disclosure that

included a waiver, and Defendant procured or caused to procure a consumer report

on that individual from December 5, 2012 to present.

      55. The putative class is so numerous that joinder of all class members is

impracticable.

      56. Defendant has employed over a thousand employees since December 5,

2012 where it procured consumer reports using a background check disclosure that

included a waiver.

      57. Named Plaintiff’s claims are typical of the putative class.

      58. Defendant typically obtained consumer reports on its employees and

prospective employees.

      59. Defendant typically gave the same background check disclosure to its

employees and prospective employees.

      60. Defendant typically included a waiver in its background check disclosure

to its employees and prospective employees.

      61. Named Plaintiff will adequately represent the putative class and has

retained experienced counsel.




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      62. Common questions of law and fact exist as to all members of the

putative class and predominate over any questions solely affecting individual

members of the putative class.

      63. There are multiple common questions of law and fact. At least seven of

these questions are listed below.

      64. First, whether Defendant used consumer report information for

employees and prospective employees.

      65. Second, whether Defendant requires its employees and prospective

employees to sign a background disclosure form.

      66. Third, whether Defendant’s background disclosure form complies with

the FCRA.

      67. Fourth, whether Defendant violated the FCRA by including a liability

release in its background disclosure form.

      68. Fifth, whether Defendant’s violations of the FCRA were willful.

      69. Sixth, the amount of statutory damages Defendant ought to be liable for

to the putative class.

      70. Seventh, the amount of punitive damages Defendant ought to be liable

for its policy and practice of procuring customer reports on employees and

prospective employees without a proper disclosure form.

      71. This action is maintainable pursuant to Rule 23(b)(1) because individual

actions would result in inconsistent or varying adjudications.




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        72. Furthermore, an individual adjudication could become dispositive of the

issues for other individuals.

        73. This action is maintainable pursuant to Rule 23(b)(2) because Defendant

has acted or not acted on grounds that generally apply to the putative class.

        74. This action is maintainable pursuant to Rule 23(b)(3) because questions

of law and fact common to the putative class predominate over any questions

affecting only individual members.

        75. A class action is superior to a myriad of individual claims.

        76. Defendant’s actions stem from a common policy and practice.

        77. For the sake of justice and judicial efficiency, it would be desirable to

pursue named Plaintiff’s complaint and Defendant’s practices as a class action.

        78. Simply put Defendant obtained consumer reports of the named Plaintiff

and of the putative class for employment purposes without complying with the

FCRA.

        79. Defendant willfully violated the FCRA.

        80. Named Plaintiff on his own behalf and for the class demands trial by

jury.

             Wherefore, named Plaintiff prays that Defendant will change its

improper practices, that the action will proceed as a class action, that the action be

certified as a class, that he be named class representative, that his counsel be

designated class counsel, for judgment that Defendant willfully violated the FCRA,

for statutory damages of $100.00 to $1,000.00 for each class member, for punitive



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damages, for attorneys’ fees, for costs and for any other relief that the Honorable

Court deems appropriate, just and fair.

           Respectfully submitted this 3rd day of December 2017,

                                        /s/ Bernard R. Mazaheri
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